   Case: 4:19-cv-00300-JMB Doc. #: 23 Filed: 03/18/19 Page: 1 of 2 PageID #: 1004




                                     UNITED STA TES DISTRICT COURT
                                     EASTERN DISTRICT OF MISSOURI
                                           EASTERN DIVISION
  Doe                                                        )
                                                             )
              Plaintiff                                      )
                                                             )
         v.                                                  )       Case No. 4:19-cv-00300-JMB
                                                             )
  Washington University
                                                             )
                                                             )
              Defendant                                      )

                     NOTICE REGARDING MAGISTRATE JUDGE JURISDICTION

 Each party to the above-captioned civil matter is to select one of the following two options indicating whether the
party will consent or will not consent to having the assigned Magistrate Judge conduct any and all proceedings in
this case, including trial and entry of final judgment in accordance with the provisions of Title 28 U.S.C. Section

CHECK ONE:

                The party or parties listed below consent to the jurisdiction of the Magistrate Judge. (Note: Selecting this option
                does not affect your ability to challenge this court's subject matter or personal jurisdiction).


                The party or parties listed below do not consent to the jurisdiction of the Magistrate Judge. (Note: If you select
   D            this option, your case will be randomly reassigned to a District Judge).

                  ame of Party or Parties:

                Washington University




Submitted By :    Lisa A. Pake                              Dated    March 18, 2019

 Note: Corporations may execute this election only by counsel.

                                             CERTIFICATE OF SERVICE

  I hereby certify that a true copy of the foregoing Notice was served on all parties of record in this
  March 18, 2019
                                                        Signature:         ISi   Lisa A. Pake
   Case: 4:19-cv-00300-JMB Doc. #: 23 Filed: 03/18/19 Page: 2 of 2 PageID #: 1005




                                     UNITED STATES DISTRICT COURT
                                     EASTERN DISTRICT OF MISSOURI
                                           EASTERN DIVISION
  Doe                                                        )
                                                             )
              Plaintiff                                      )
                                                             )
         v.                                                  )       Case No. 4:19-cv-00300-JMB
                                                             )
  Washington University
                                                             )
                                                             )
              Defendant                                      )

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                The party or parties listed below do not consent to the jurisdiction of the Magistrate Judge. (Note: If you select
   D            thi s option, your case will be randomly reassigned to a District Judge).

                Name of Party or Parties:

                John Doe




Submitted By:     John Galt Covert                          Dated    March 04, 2019

 Note: Corporations may execute this election only by counsel.

                                             CERTIFICATE OF SERVICE

  I hereby certify that a true copy of the foregoing Notice was served on all parties of record in this
  March 04, 2019
                                                        Signature:         !SI   John Galt Covert
